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                                                                        U.S. DISTRICT COURT
                                                                            N.D. OF ALABAMA


               UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION

State of ALABAMA, et al.,
                                   Plaintiffs,
                                                 No. 7:24-cv-533-GMB
      v.

Miguel CARDONA, in his official
Capacity as U.S. Secretary of
Education, et al.,
                                  Defendants.

       MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR
      STAY OF EFFECTIVE DATE AND PRELIMINARY INJUNCTION
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                                      INTRODUCTION
       Congress passed Title IX in 1972 by large margins (88-6 in the Senate and 275-125 in

the House). See 118 Cong. Rec. 6,277 (Mar. 1, 1972); 118 Cong. Rec. 16,842 (May 11, 1972).

Its core prohibition is only 37 words: “No person in the United States shall, on the basis of

sex, be excluded from participation in, be denied the benefits of, or be subjected to discrimi-

nation under any education program or activity receiving Federal financial assistance.” 20

U.S.C. §1681(a).

       When Congress approved that language in 1972, no one was voting to let boys use the

girls’ bathroom or to let men play women’s sports. A bill that imposed those policies wouldn’t

even pass today. Nearly 70% of Americans “say transgender athletes should only be allowed

to compete on sports teams that conform with their birth gender”—a number that is growing

over time. Jones, More Say Birth Gender Should Dictate Sports Participation, Gallup (June 12, 2023),

perma.cc/F78B-ATGV. Americans feel the same about bathrooms. See Flores, States Have Be-

come More Polarized on Transgender Civil Rights, PRRI (Dec. 6, 2023), perma.cc/AC32-D48S.

       Though they’re losing the democratic debate, the minority who support these policies

are currently running the executive branch; and they have decided to threaten nonconformists

with the loss of billions of dollars in federal funding. A new rule from the U.S. Department of

Education fundamentally rewrites Title IX in ways that Congress never did, would, or could.

Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal Financial

Assistance, 89 Fed. Reg. 33,474 (Apr. 29, 2024). The rule redefines “sex” to include “gender

identity,” insisting that men must be allowed in women’s bathrooms, locker rooms, and show-

ers (and paving the way for them to compete in women’s sports). The rule then punishes



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students who speak out against this received orthodoxy by defining “sex-based harassment”

so broadly that it covers controversial speech, including a student’s refusal to use another

student’s “preferred pronouns.” And for any student accused of violating these dictates, the

rule slashes the process they are due—marking a return, for no apparent reason, to the much-

maligned kangaroo courts that once pervaded college campuses.

       The Department’s new rule turns Title IX on its head and violates the Administrative

Procedure Act. In fact, the Department knew its major provisions couldn’t be enforced in this

circuit. Eleventh Circuit precedent already holds that Title IX’s use of “sex” unambiguously

means “biological sex”—not “gender identity” or “transgender status”—and that Title IX al-

lows schools to maintain separate bathrooms for students based on their biological sex. Adams

ex rel. Kasper v. Sch. Bd. of St. Johns Cnty., 57 F.4th 791 (11th Cir. 2022) (en banc). While the

Department “declines to adopt the Eleventh Circuit’s reasoning,” 89 Fed. Reg. at 33,821,

courts in this circuit don’t have that option. Binding circuit precedent further holds that, when

public schools adopt the definition of “harassment” that the rule now requires, they violate

the First Amendment. Speech First, Inc. v. Cartwright, 32 F.4th 1110, 1115 (11th Cir. 2022). The

Department’s insistence that schools must adopt policies that litigants have already challenged

and defeated in court is not the product of reasoned decisionmaking.

       The rule becomes effective on August 1, 2024. Because this Court will likely vacate the

rule, it should freeze the rule while the parties litigate cross-motions for summary judgment.

This Court should stay the rule’s effective date before August 1. At a minimum, it should

preliminarily enjoin the Department from enforcing the rule in the Plaintiff States. Anything

less will inflict immediate and irreparable harm on students, States, and schools.



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                                       BACKGROUND
       Title IX’s ban on sex discrimination is straightforward; and for decades, common sense

and caselaw created a stable consensus on three key points. First, the original public meaning

of “sex” is biological sex and does not include “gender identity.” Second, schools can be liable

for sex discrimination if they tolerate sexual harassment on campus, but only if they are delib-

erately indifferent to harassment that is “so severe, pervasive, and objectively offensive that it

denies its victims the equal access to education.” Davis v. Monroe Cnty. Bd. of Educ., 526 U.S.

629, 652 (1999). And third, schools must adopt prompt and equitable procedures to resolve

complaints of sex discrimination that neither deny due process nor unfairly favor one sex over

the other. See generally Compl. (Doc. 1) ¶18.

       These basic principles were tested, however, by the Obama administration. Through

guidance and aggressive investigations, the Obama-era Department sought to remake Title IX.

It used guidance to expand Title IX to include “gender identity.” It used investigations to force

schools to adopt broader definitions of sexual harassment than the one articulated by the Su-

preme Court in Davis. And it relaxed key procedural protections for the accused. These ma-

neuvers faced significant pushback, and some were even invalidated in court. See generally

Compl. ¶31 (citing Texas v. United States, 201 F. Supp. 3d 810 (N.D. Tex. 2016)).

       The Trump administration took a different path. In 2020, for the first time in almost

two decades, the Department promulgated a notice-and-comment rule codifying Title IX’s

first principles. See 85 Fed. Reg. 30,026, 30,036 (May 19, 2020) (2020 rule). The 2020 rule

declined to illegally redefine sex to include gender identity and sexual orientation. Id. at 30,177.

It “adopt[ed]” the Supreme Court’s definition of sexual harassment from Davis “verbatim.”



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Id. at 30,036. And it strengthened procedural protections for students accused of sexual mis-

conduct by requiring schools to, among other things, let a representative accompany them to

live hearings, id. at 30,577, let that counsel cross-examine witnesses, id., and not use a single-

investigator model where the same person investigates, prosecutes, and sentences students, id.

at 30,366-72. All attempts to vacate the 2020 rule through litigation failed. See Compl. ¶49.

       Then came the Biden administration. It immediately sought to undo the Trump ad-

ministration’s Title IX rule. It first resumed the Obama administration’s strategy of using ag-

gressive guidance to inject gender identity into Title IX, but that guidance was quickly ruled

illegal. See Tennessee v. U.S. Dep’t of Educ., 615 F. Supp. 3d 815, 837 (E.D. Tenn. 2022) (invali-

dating 86 Fed. Reg. 32,637 (June 22, 2021)). The administration eventually sought input from

the public via notice-and-comment rulemaking. 87 Fed. Reg. 41,390 (July 12, 2022). Its pro-

posed rule scrapped the biology-based understanding of sex discrimination, id. at 41,410; jet-

tisoned the Davis standard for sexual harassment, id. at 41,568-69; and eliminated procedural

protections for the accused, id. at 41,485-88, 41,497-500, 41,577-78. These proposals were met

with significant opposition from concerned observers spanning both sides of the aisle, numer-

ous major faith groups, and generations old and new. In all, the Department received over

240,000 comments on the proposed rule—the vast majority of which were negative. 89 Fed.

Reg. at 33,477.

       Still, after many delays, the Department published a “final rule” that was materially

indistinguishable from the proposed rule. The rule’s effective date is August 1, 2024. Id. at

33,476. It walks back none of the proposed rule’s three key infirmities.




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A.     The challenged rule redefines “sex” to include “gender identity.”
       Against 50 years of consensus and practice, the Department’s new rule redefines “sex”

to include “gender identity.” This shift renders unlawful longstanding policies maintaining

separate bathrooms for individuals based on their biological sex and upends the foundation

of women’s sports.

       The rule first redefines “sex discrimination” to include “gender identity discrimina-

tion.” It declares that “[d]iscrimination on the basis of sex includes discrimination on the basis

of sex stereotypes, sex characteristics, … and gender identity.” 89 Fed. Reg. at 33,886 (Pro-

posed 34 C.F.R. §106.10). The Department does not provide an express definition for “sex”

or dispute that “sex” means what it’s always meant: “biological sex.” The Department instead

contends that, “even assuming ‘sex’ means ‘biological sex,’” Title IX’s “prohibition on sex

discrimination encompasses … gender identity discrimination.” Id. at 33,807.

       Though the Department admits that Title IX allows “different treatment or separation

on the basis of sex” in “limited circumstances,” the rule states that, even in those exempted

circumstances, recipients cannot “subjec[t] a person to more than de minimis harm.” Id. at

33,816 (Proposed 34 C.F.R. §106.31(a)(2)). And preventing someone from participating “con-

sistent with [that] person’s gender identity” is always “more than de minimis harm.” Id. The

rule then states what it views as those “limited circumstances” where sex discrimination is

allowed. Id. (citing 20 U.S.C. §§1681(a)(1)-(9), 1686; 34 C.F.R. §§106.12-.15, 106.32(b)(1),

106.41(b)). Absent from this list is the Department’s regulation on separate bathrooms and

locker rooms: 34 C.F.R. §106.33.




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       Though the rule doesn’t expressly rescind §106.33, the Department says that its own

regulation is null and void. That regulation is not backed by a “statutory exception,” the De-

partment claims, and the Department “declines to adopt the Eleventh Circuit’s reasoning in

Adams that the statutory carve out for living facilities” justifies that regulation. 89 Fed. Reg. at

33,819, 33,821. In other words, the rule declares §106.33 invalid without formally rescinding

it and proclaims that excluding transgender or nonbinary students from using their preferred

bathroom is illegal. Id. The Department acknowledges, though, that this new approach to

bathrooms is unlawful under existing Eleventh Circuit precedent. Id. at 33,820-21. And it tries

to deny that its redefinition of sex discrimination affects athletics. See id. at 33,817-18.

B.     The challenged rule redefines “sex-based harassment.”
       The 2020 rule defined hostile-environment harassment by adhering “verbatim” to the

Supreme Court’s definition in Davis: “[u]nwelcome conduct determined by a reasonable per-

son to be so severe, pervasive, and objectively offensive that it effectively denies a person equal

access to the recipient’s education program or activity.” 34 C.F.R. §106.30(a)(2) (emphases

added); accord Davis, 526 U.S. at 652. The rule challenged here defines harassment far more

broadly. It prohibits “[u]nwelcome sex-based conduct that, based on the totality of the cir-

cumstances, is subjectively and objectively offensive and is so severe or pervasive that it limits

or denies a person’s ability to participate in or benefit from the recipient’s education program

or activity.” 89 Fed. Reg. at 33,884 (Proposed 34 C.F.R. §106.2) (emphases added).

       The Department concedes that its new definition of harassment is “broader” than the

definition in the 2020 rule and Davis. Id. at 33,498. The rule applies even if the harassment

merely “limits” a person’s “ability to participate in or benefit from” a program or activity, id.



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at 33,884, rather than “denies” a person “access to the educational opportunities or benefits

provided by the school,” Davis, 526 U.S. at 651-53. The rule also expands Title IX to cover

harassment that’s “severe or pervasive,” 89 Fed. Reg. at 33,884, rather than “severe and perva-

sive,” Davis, 526 U.S. at 652-53. Broader still, the rule requires recipients to “promptly and

effectively end any sex discrimination,” regardless whether they were deliberately indifferent

to it. See 89 Fed. Reg. at 33,889 (Proposed 34 C.F.R. §106.44(f)(1)); contra Davis, 526 U.S. at

650-52.

       This new, broader definition of harassment—combined with the Department’s inclu-

sion of gender identity—is sweeping. It effectively requires recipients to ensure that students

use “pronouns and names consistent with a student’s gender identity.” 2016 Dear Colleague

Letter on Title IX and Transgender Students 3, U.S. Dep’ts of Educ. & Justice (May 13, 2016) (2016

letter), perma.cc/2VTQ-RUYP. The rule suggests as much. See generally Compl. ¶76. And it

extends to conduct that occurs online, off campus, outside the United States, or even before

the relevant individuals attended the school. 89 Fed. Reg. at 33,886, 33,527. It also broadly

requires recipients to “prohibit retaliation, including peer retaliation.” Id. at 33,896 (Proposed

34 C.F.R. §106.71).

C.     The challenged rule eliminates procedures for the accused.
       The rule makes several changes that restrict students’ ability to defend themselves from

accusations of misconduct under Title IX. Many of these changes, such as ending the right to

a live hearing with cross-examination and resurrecting the single-investigator model, have been

almost universally condemned, including by the ACLU. See ACLU Comment on U.S. Department

of Education’s Final Title IX Rule, Press Release (Apr. 19, 2024), perma.cc/8XWJ-54FK (“The



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ACLU opposes the provisions in the final regulation” that “[d]o not require universities to

provide a live hearing and an opportunity for cross-examination” and that allow “the single

investigator model”).

       To start, the rule eliminates the accused’s right to a live hearing with cross-examination

by their representative at postsecondary institutions. See 89 Fed. Reg. at 33,895 (Proposed 34

C.F.R. §106.46(g)). Under the 2020 rule, students accused of Title IX misconduct had the right

to defend themselves in person and have their representative cross-examine witnesses, includ-

ing their accuser. 85 Fed. Reg. at 30,313-34. Now, their universities can deny requests for in-

person hearings and thus meaningful cross-examination. Even if schools give the accused

some sort of hearing, the accused still has no right to cross-examine the accuser or witnesses.

Instead, the rule requires only that “the decisionmaker” can question parties and witnesses and

assess credibility—and only “to the extent credibility is both in dispute and relevant.” 89 Fed.

Reg. at 33,893 (Proposed 34 C.F.R. §106.45(f)-(g)). College students accused of misconduct

also no longer have a right to have an advisor (lawyer) participate at all proceedings. Instead,

postsecondary schools can limit their attendance. Id. at 33,894 (Proposed §106.46(e)(2)).

       The rule removes the right of students to inspect all the evidence against them. Under

the 2020 rule, “both parties [had] an equal opportunity to inspect and review any evidence ob-

tained as part of the investigation that is directly related to the allegations raised in a formal

complaint.” 34 C.F.R. §106.45(b)(5)(vi) (emphases added). The challenged rule instead allows

the parties to access a mere “description” of the “relevant and not otherwise impermissible

evidence” unless the parties go out of their way to request an “equal opportunity to access” it.

89 Fed. Reg. at 33,892-94 (Proposed §§106.45(f), 106.46(e)). And even then, the decisionmaker



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can withhold any evidence he decides is not “relevant” or “otherwise impermissible,” id. at

33,892, rather than everything “related to the allegations,” 34 C.F.R. §106.45(b)(5)(vi).

       The rule permits a single-investigator model. Under the 2020 rule, schools could not

use a model that allowed a single employee to be the judge, jury, and executioner of a Title IX

complaint. 85 Fed. Reg. at 30,366-72. Under the challenged rule, the Department will no

longer require that separation. 89 Fed. Reg. at 33,891 (Proposed §106.45(b)(2)). Instead, the

same individual can hear the original allegations, decide whether to investigate, do the investi-

gation, evaluate the evidence, and make a final decision.

       The rule also allows an investigation to begin without any formal written complaint.

Under the 2020 rule, recipients could begin investigations only in response to a formal written

complaint from the accuser. 85 Fed. Reg. at 30,126-35. Under the challenged rule, a recipient

need only receive an “oral” statement that a recipient can “objectively” understand as a “re-

quest” to “investigate.” 89 Fed. Reg. at 33,882 (Proposed §106.2). More, the rule now permits

the Title IX coordinator to initiate a grievance procedure even in “the absence of a complaint

or the withdrawal of any or all of the allegations in a complaint.” Id. at 33,889 (Proposed

§106.44(f)(1)(v)).

       The rule also limits schools’ ability to use a higher burden of proof. Under the 2020

rule, schools could adopt the preponderance standard or the clear-and-convincing standard,

so long as the standard was the same for complaints against students and employees. 85 Fed.

Reg. at 30,575. Now the challenged rule lets recipients use a higher burden of proof (like clear

and convincing) only if they use that higher burden “in all other comparable proceedings,




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including proceedings relating to other discrimination complaints.” 89 Fed. Reg. at 33,893

(Proposed §106.45(h)(1)).

                                         *       *       *
       Plaintiffs are four States and four private groups. Each urged the administration not to

uproot the 2020 rule. E.g., Weaver Decl. ¶8; Mailman Decl. ¶5; Neily Decl. ¶5; Trump Decl.

¶5. And each will suffer concrete injuries as a direct result of the Department’s rule. E.g.,

Mackey Decl. ¶¶6-17; Purcell Decl. ¶¶9, 13-19; Sikes Decl. ¶¶5-15; Brickhouse Decl. ¶¶4-14;

Woods Decl. ¶¶6-20; Hardee Decl. ¶¶6-18; Weaver Decl. ¶¶9-19; Mailman Decl. ¶¶5-23; Neily

Decl. ¶¶7-27; Trump Decl. ¶¶5, 7-23. Plaintiffs filed this suit on the day the final rule was

published, and they now seek preliminary relief so that the rule doesn’t irreparably injure them

or their constituents before this case can be litigated to final judgment.

       Plaintiffs aren’t alone. So far, at least eighteen other States have filed suits challenging

the rule’s legality under the APA. E.g., Louisiana v. U.S. Dep’t of Educ., No. 3:24-cv-563 (W.D.

La. Apr. 29, 2024) (Louisiana, Mississippi, Montana, and Idaho); Texas v. United States, No.

2:24-cv-86 (N.D. Tex. Apr. 29, 2024) (Texas); Tennessee v. Cardona, No. 2:24-cv-72 (E.D. Ky.

Apr. 30, 2024) (Tennessee, Kentucky, Indiana, Virginia, West Virginia, and Ohio); Oklahoma

v. Cardona, No. 5:24-cv-461 (W.D. Okla. May 6, 2024) (Oklahoma); Arkansas v. U.S. Dep’t of

Educ., No. 4:24-cv-636 (E.D. Mo. May 7, 2024) (Arkansas, Missouri, Iowa, Nebraska, North

Dakota, South Dakota, and an individual); see also Rapides Par. Sch. Bd. v. U.S. Dep’t of Educ., No.

1:24-cv-567 (W.D. La. Apr. 30, 2024) (school district). More suits are likely.




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                                          ARGUMENT
       This Court should stay the rule’s effective date or, at a minimum, preliminarily enjoin

the Department from enforcing it in Alabama, Florida, Georgia, and South Carolina. For ei-

ther form of relief, the relevant factors are the same: likely success, irreparable harm, balance

of equities, and public interest. Lane v. United States, 2018 WL 11441015, at *2 (S.D. Ga. Feb.

27). All four factors favor Plaintiffs.

I.     Plaintiffs will likely succeed on the merits.
       The Department’s new rule violates the APA. It illegally redefines sex discrimination

to include “gender identity.” It illegally rewrites the Supreme Court’s definition of sexual har-

assment. And it illegally changes key procedures for the accused. In APA parlance, the rule is

“arbitrary,” “capricious,” “not in accordance with law,” and “in excess of statutory … author-

ity.” 5 U.S.C. §706(2). This Court will likely vacate it.

       A.      The rule illegally redefines Title IX’s prohibition on “sex” discrimina-
               tion.
       The challenged rule’s redefinition of “sex” to include “gender identity” is illegal for two

independent reasons. It conflicts with Title IX’s text, context, and purpose. And the Depart-

ment didn’t reasonably justify it.

               1.      The redefinition of sex discrimination misreads Title IX.
       The rule’s redefinition of “sex” to include “gender identity” is not a permissible reading

of Title IX. That statute bans discrimination “on the basis of sex” in “education program[s] or

activit[ies]” that receive federal funds. 20 U.S.C. §1681(a) (emphasis added). It allows recipi-

ents to “maintai[n] separate living facilities for the different sexes”—i.e., “for” males and fe-

males. §1686 (emphases added). And Title IX’s regulations have long allowed separation of

the sexes in housing, 34 C.F.R. §106.32(b), in “toilet, locker room, and shower facilities,”


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§106.33, and in athletics, §106.41(b). Title IX clearly does not cover discrimination based on

“gender identity.”

       The Department steamrolls the text, its own regulations, and the history of Title IX. It

declares that sex discrimination “includes discrimination on the basis of sex stereotypes, sex

characteristics, pregnancy or related conditions, sexual orientation, and gender identity.” 89

Fed. Reg. at 33,886 (Proposed §106.10). The Department does not define “sex” but also never

disputes that “sex” means what it has always meant in Title IX: “biological sex.” The Depart-

ment instead contends that, “even assuming ‘sex’ means ‘biological sex,’” Title IX’s “prohibi-

tion on sex discrimination encompasses sexual orientation and gender identity discrimination.”

Id. at 33,807; accord id. at 33,804. But the Department is playing word games; it’s clear that the

Department is trying to inject, for the first time, gender ideology into Title IX, contrary to

longstanding practice and the statute’s original public meaning.

       Eleventh Circuit precedent defeats the Department’s word games. In Adams, the en

banc court held that the original public meaning of Title IX’s use of “sex” means biological

sex and does not include “gender identity,” that Title IX clearly permits longstanding practices

like sex-separated bathrooms and locker rooms, and that the Supreme Court’s decision in

Bostock is limited to Title VII and does not extend to Title IX. 57 F.4th at 811-17 (citing Bostock

v. Clayton Cnty., 590 U.S. 644, 655-56 (2020)). Then in Eknes-Tucker, the circuit reaffirmed that

Bostock was a Title VII decision with “minimal relevance” outside that context. Eknes-Tucker v.

Gov’r of Ala., 80 F.4th 1205, 1229 (11th Cir. 2023).




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       The Department concedes everything but the part about Bostock. The Department

agrees that Adams holds “that ‘sex’ as used in Title IX can only refer to ‘biology and reproduc-

tive function,’ not gender identity, and that restrooms are covered by a statutory provision

permitting a recipient to maintain ‘separate living facilities for the different sexes.’” 89 Fed.

Reg. at 33,820-21 (quoting Adams, 57 F.4th at 811-15). The Department agrees that Title VII

precedent does not automatically apply to Title IX. See, e.g., id. at 33,563 (“the Department is

not bound by Title VII standards in implementing Title IX”); id. at 33,617, 33,645 (similar).

And yet it dogmatically injects Bostock into Title IX, without acknowledging or addressing the

Eleventh Circuit’s understanding of Bostock in cases like Adams and Eknes-Tucker.

       That the Department couldn’t distinguish Adams and Eknes-Tucker is understandable,

but damning for its rule. In reaching the conclusion that “sex” means “biological sex” and that

sex-separated bathrooms were obviously permissible under Title IX, the Eleventh Circuit con-

cluded that Bostock does not apply to Title IX and is limited to Title VII. Adams, 57 F.4th at

811. The dissent in Adams thought “Bostock’s reasoning” applied in full to Title IX and that

“the same reasoning” required letting students use their preferred bathroom. Id. at 857-58 (Jill

Pryor, J., dissenting). But the majority disagreed. It said reliance on Bostock was “faulty” be-

cause Title VII and Title IX have crucially different texts, histories, and purposes. Id. at 808.

For example, “Title IX, unlike Title VII, includes express statutory and regulatory carve-outs

for differentiating between the sexes.” Id. at 811. If Bostock applied to Title IX, the majority

stressed, then Bostock “would swallow the carve-outs and render them meaningless.” Id. at 814

n.7; accord id. at 813. It would ignore that the workplace differs critically from schools. Id. at




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808. And it would mean that Title IX bizarrely provides “more protection against discrimina-

tion on the basis of transgender status” than “against discrimination on the basis of sex.” Id.

at 814. Bottom line: Bostock doesn’t extend to Title IX. The Eleventh Circuit reaffirmed Ad-

ams’s conclusion that Bostock applies only to Title VII, explaining that “Bostock relied exclusively

on the specific text of Title VII” and “bears minimal relevance” to cases with “a different law

… and a different factual context.” Eknes-Tucker, 80 F.4th at 1228-29.

       Other courts agree. As the Sixth Circuit explained, Bostock’s “reasoning applies only to

Title VII, as Bostock itself and many subsequent cases make clear.” L.W. ex rel. Williams v.

Skrmetti, 83 F.4th 460, 484 (6th Cir. 2023); accord Meriwether v. Hartop, 992 F.3d 492, 510 n.4

(6th Cir. 2021) (“Title VII differs from Title IX in important respects,” so “it does not follow

that principles announced in the Title VII context automatically apply in the Title IX con-

text.”). In short, “Bostock extends no further than Title VII.” Pelcha v. MW Bancorp, Inc., 988

F.3d 318, 324 (6th Cir. 2021).

       The Department doesn’t try to distinguish Adams or Eknes-Tucker; it merely says it

“does not agree” with the Eleventh Circuit’s binding precedent. 89 Fed. Reg. at 33,820; accord

id. at 33,821 (“declines to adopt the Eleventh Circuit’s reasoning in Adams”). While the De-

partment is free to challenge binding circuit precedent, it will have to do so at the Supreme

Court, not here. It knew that, under Adams, its rule would be immediately invalid in this circuit.

Binding precedent thus dooms the rule’s redefinition of sex discrimination to include “gender

identity.”




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       Even if Bostock were relevant under Title IX, the rule misapplies it. Bostock emphasized

that, to determine whether an act “discriminate[s],” a court must use a comparator—i.e., com-

pare the plaintiff to “others who are similarly situated.” 590 U.S. at 657 (emphasis added). In

Bostock, male and female employees were similarly situated because “[a]n individual’s homo-

sexuality or transgender status is not relevant to employment decisions.” Id. at 660. Here, by

contrast, a student’s biology is relevant to decisions about athletics, bathrooms, and locker

rooms. See Adams, 57 F.4th at 811-17. These programs are separated by sex because males and

females, no matter how they identify, have different anatomies. Even the Department

“strongly agrees” that, for these reasons, schools “have a legitimate interest in protecting all

students’ safety and privacy.” 89 Fed. Reg. at 33,820. Stated another way, prohibiting males

from using the girls’ restroom is not discrimination based on “gender identity”; it is discrimi-

nation based on sex that Title IX expressly permits. In fact, allowing a male to use the girls’

restroom because of “gender identity” while prohibiting other males who are not “trans-iden-

tified” from using the girls’ restroom would be discrimination based on “gender identity.” So

even if Bostock’s reasoning applied, the Department unreasonably explained and applied it here.

       If any doubts remain, the Spending Clause and the major-questions doctrine should

extinguish them. Both doctrines require that Title IX clearly cover gender identity and sexual

orientation—something the statute obviously doesn’t do.

       Spending Clause: The rule’s redefinition of sex discrimination implicates the consti-

tutional limits on Congress’s authority under the Spending Clause. U.S. Const. art. I, §8. Title

IX is a Spending Clause statute. Adams, 57 F.4th at 815. The Spending Clause authorizes Con-

gress to “attach conditions on the receipt of federal funds.” South Dakota v. Dole, 483 U.S. 203,



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206-07 (1987). It works like a “‘contract: in return for federal funds, the States agree to comply

with federally imposed conditions.’” Adams, 57 F.4th at 815. But this power is “not unlimited.”

Dole, 483 U.S. at 207. Congress’s condition must be “unambiguous,” such that the States can

“exercise their choice knowingly, cognizant of the consequences of their participation.” Id.

(cleaned up). In other words, “spending restrictions imposed by Congress must be ascertain-

able to be enforceable.” W.V. ex rel. Morrisey v. U.S. Dep’t of the Treasury, 59 F.4th 1124, 1143

(11th Cir. 2023). Congress also may not use its spending power to “indirectly coerc[e] a State

to adopt a federal regulatory system as its own.” NFIB v. Sebelius, 567 U.S. 519, 578 (2012) (op.

of Roberts, C.J.).

       The rule violates these limitations. For one, the rule jeopardizes billions of dollars for

each State—a significant amount of these States’ education-related federal funding—if they

refuse or otherwise violate the Department’s new reimagination of Title IX, leaving the States

with “no real option but to acquiesce.” Id. at 582; e.g., Purcell Decl. ¶¶8-9; Mackey Decl. ¶¶5-

6; Woods Decl. ¶¶5-6; Weaver Decl. ¶¶5-6. For another, the new regulations can’t survive “the

Spending Clause’s clear-statement rule.” Adams, 57 F.4th at 815. As the Eleventh Circuit ex-

plained, “schools across the country separate bathrooms based on biological sex”; “colleges

and universities across the country separate living facilities based on biological sex”; and

schools, colleges, and universities separate “sports teams” based on biological sex. Id. at 816-

17. Yet the rule “call[s] into question the validity” of all these longstanding practices that are

the core of Title IX. Id. at 817. The idea that schools, colleges, and universities “could or

should have been on notice” that these practices violate Title IX “is untenable.” Id. at 816.




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       It is no answer to say, as the Department does, that its rule is prospective and the new

regulations provide the needed clarity. 89 Fed. Reg. at 33,805. An agency’s rule can’t provide the

needed clarity because that clarity “must come directly from the statute.” Morrisey, 59 F.4th at

1147 (emphasis added) (cleaned up). As the Fifth Circuit once explained: “Regulations that

interpret statutes are valid only if they either match Congress’s unambiguous command or are

clarifying a statutory ambiguity. Relying on regulations to present the clear condition, there-

fore, is an acknowledgment that Congress’s condition was not unambiguous, so that method

of analysis would not meet the requirements of” the clear-statement rule. Tex. Educ. Agency v.

U.S. Dep’t of Educ., 992 F.3d 350, 361 (5th Cir. 2021) (cleaned up).

       Even if a rule could provide the needed notice, this rule doesn’t. The Department fails

to adequately define key terms like “gender identity,” identify how recipients can properly

“verify” a student’s or teacher’s “gender identity,” or explain how schools can deal with “non-

binary” students or teachers. Nor does it explain whether the inclusion of “gender identity” in

Title IX will require recipients to punish “misgendering,” hide a school-age child’s “gender

identity” from their parents, or “affirm” a school-age child’s “gender identity” when the par-

ents tell the recipients not to. See generally 89 Fed. Reg. at 33,821-22 (parental rights); 33,516

(“misgendering”); 33,809 (vague “descri[ption]” of “gender identity”); 33,819 (vague “verifi-

cation” guidance); 33,818 (nonbinary).

       Major Questions: The challenged rule can’t survive the major-questions doctrine ei-

ther. The Department “seeks to intrude into an area that is the particular domain of state law”:

education. West Virginia v. EPA, 597 U.S. 697, 744 (2022) (Gorsuch, J., concurring) (cleaned

up); see United States v. Lopez, 514 U.S. 549, 564 (1995) (“education [is] where States historically



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have been sovereign”). And in trying to redefine “sex,” the Department breaks new ground

on issues of “‘political significance.’” West Virginia, 597 U.S. at 721; see Franciscan All. v. Burwell,

227 F. Supp. 3d 660, 687 (N.D. Tex. 2016) (“the scope and meaning of sex discrimination

prohibited by Title IX” “undoubtedly implicates significant policy questions”). The Depart-

ment received 240,000 comments (most of which were negative), thrice delayed the issuance

of the rule, and took nearly three years to issue it because of the extraordinary significance of

its decision. 89 Fed. Reg. at 33,477. Members of Congress have repeatedly tried—and failed—

to amend Title IX to add “gender identity” and “sexual orientation.” See West Virginia, 597

U.S. at 731-32; Neese v. Becerra, 2022 WL 1265925, at *13 (N.D. Tex. Apr. 26) (“Legislators

tried to amend Title IX to include ‘sexual orientation’ and ‘gender identity’ on multiple occa-

sions, but those attempts failed.”). And sex-separated facilities and athletics “‘rais[e] questions

that are personal and emotionally charged, hitting fundamental issues’” of our time, Biden v.

Nebraska, 143 S.Ct. 2355, 2373-74 (2023), and are plainly “the subject of an ‘earnest and pro-

found debate’ across the country,” Gonzales v. Oregon, 546 U.S. 243, 267 (2006); accord West

Virginia, 597 U.S. at 743 (Gorsuch, J., concurring). The President has publicly weighed in on

the issue too, which “only underscores [its] enormous significance.” U.S. Telecom Ass’n v. FCC,

855 F.3d 381, 423-24 (D.C. Cir. 2017) (Kavanaugh, J., dissental); e.g., 86 Fed. Reg. 7023 (Jan.

25, 2021).

        Taking everything together, the rule tries to answer a major question, so the Depart-

ment must “point to ‘clear congressional authorization’” for it. West Virginia, 597 U.S. at 723.

It can’t. As explained, the best interpretation of Title IX is that “sex” doesn’t include “gender

identity.” So there’s certainly no clear authorization for the opposite view.



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                2.     The redefinition of sex discrimination is arbitrary and capricious.
          Even if the rule could have been squared with text and precedent, the Department’s

attempt to do so is arbitrary and capricious. It violates the APA’s demand for reasoned deci-

sionmaking in at least six ways. It unreasonably renders its own bathroom regulations incon-

sistent. It fails to consider sports. It leaves key questions about “gender identity” unresolved.

It ignores real reliance interests and costs on recipients. It adopts a “de minimis harm” stand-

ard without a sufficient basis. And it fails to grapple with the conflicts it creates with parental

rights.

          Bathrooms: The rule makes a mess of the Department’s own regulations. On the one

hand, the rule announces that schools violate Title IX if they don’t allow transgender students

access to the bathroom reserved for the opposite biological sex. 89 Fed. Reg. at 33,820-21. On

the other hand, the Department acknowledges that an existing regulation allows schools to

have sex-separated bathrooms, and that the best reading of that regulation is that schools can

reserve access to sex-separated bathrooms based on biological sex. Id. And then the Depart-

ment says, bizarrely, that it is leaving that existing bathroom regulation in place. Id. at 33,821. The

Department says the existing regulation is void because it violates Title IX itself, id., leaving

the regulation in a zombie-like state where it still appears on the books but supposedly has no

force. Perhaps the Department didn’t want to take the political hit of actually saying that it is

forcing schools to let males into female bathrooms, locker rooms, and showers. But creating

a scheme where its regulations are now in direct conflict—confusing recipients and students

alike—was not a reasonable approach to rulemaking. See Data Mktg. P’ship, LP v. DOL, 45




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F.4th 846, 857 (5th Cir. 2022); Conservancy of Sw. Fla. v. U.S. Fish & Wildlife Serv., 677 F.3d 1073,

1078 n.10 (11th Cir. 2012).

       Sports: The redefinition of sex discrimination to include gender identity fails to rea-

sonably handle athletics, one of the most important aspects of the problem. Instead of con-

sidering how its redefinition affects sports, the Department tries to punt. It claims that the

rule has no effect on athletics because the Department has a regulation that expressly allows

sex-separate sports. 89 Fed. Reg. at 33,817-18, 33,839. Yet the same was true for bathrooms,

and the Department bulldozed that regulation by claiming it is invalid. See id. at 33,819-21.

Sports are different, the Department says, because that regulation was prompted by the so-

called Javits Amendment, and Congress actually reviewed that regulation before it went into

effect. Id. at 33,816-17. But the bathroom regulation was part of that same batch of regulations,

all of which the Department created in response to the Javits Amendment and Congress did

not disapprove. See 40 Fed. Reg. 24,128, 24,141 (June 4, 1975); 34 C.F.R. §106.33.

       Worse, the Department hides the ball by omitting that, just like the bathroom regula-

tion, it thinks the sports regulation is invalid. See B.P.J. v. West Virginia, Doc. 42, No. 2:21-cv-

316 (S.D. W. Va. June 17, 2021) (arguing that Title IX and the Constitution invalidate policies

that “categorically exclude transgender girls from participating in single-sex sports restricted

to girls”); U.S. Amicus Br. 24-27, B.P.J. v. W.V. State Bd. of Educ., Nos. 23-1078, 23-1130 (4th

Cir. Apr. 3, 2023) (same). Arbitrarily treating like things as unalike does not satisfy the APA.

See Eagle Broad. Grp. v. FCC, 563 F.3d 543, 551 (D.C. Cir. 2009) (“an agency may not treat like




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cases differently”); Yetman v. Garvey, 261 F.3d 664, 669 (7th Cir. 2001) (“A long line of prece-

dent has established that an agency action is considered arbitrary when the agency has offered

insufficient reasons for treating similar situations differently.”).

       More fundamentally, the Department cannot save for later an important aspect of the

problem when the validity of its current rule depends on the answers. And that’s the case with

sports: The soundness of the Department’s interpretation of sex discrimination depends on

context and the history of Title IX, for which sports has always been central. See Adams, 57

F.4th at 816 (stressing that a decision about bathrooms “would have broad implications for

sex-separated sports”). Nor could the Department meaningfully consider the practicability or

wiseness of its policy decisions without factoring in sports. See id. at 821 (Lagoa, J., concurring)

(explaining that a bathroom determination “would open the door to eroding Title IX’s bene-

ficial legacy for girls and women in sports” and “har[m] not only girls’ and women’s prospects

in sports, but also … their development and opportunities beyond the realm of sports”). The

unfairness of letting men dominate sports is one of the core reasons why Congress passed

Title IX; it is not something the Department could pretend is not part of the debate over its

redefinition of sex to include gender identity.

       Gender Identity: The Department also fails to adequately define “gender identity.”

The Department’s reasoning on this issue renders its rule vague and impossible to apply. The

Department declines to provide “a specific definition of ‘gender identity.’” 89 Fed. Reg. at

33,809. At the same time, it defines “gender identity” as “an individual’s sense of their gender,

which may or may not be different from their sex assigned at birth.” Id. This (non)definition

is unworkable. It provides schools no guidance on what “gender identities” they must accept



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or how they can “verify” them. “It oversimplifies matters to say that gender dysphoric people”

merely identify “opposite from their birth sex.” United States v. Varner, 948 F.3d 250, 256 (5th

Cir. 2020). “Gender identity” is not a “‘discrete’” category but “can describe ‘a huge variety of

gender identities and expressions.’” L.W., 83 F.4th at 487. According to some, “gender is not

binary but rather a three-dimensional ‘galaxy.’” Varner, 948 F.3d at 257. One of the Depart-

ment’s leading sources, WPATH, insists that someone can be “more than one gender identity

simultaneously or at different times (e.g., bigender),” “not have a gender identity or have a

neutral gender identity (e.g., agender or neutrois),” “have gender identities that encompass or

blend elements of other genders (e.g., polygender, demiboy, demigirl),” or “have a gender that

changes over time (e.g., genderfluid).” Standards of Care for the Health of Transgender and Gender

Diverse People, S80, World Prof. Ass’n Transgender Health (8th ed. 2022) (cited at 89 Fed. Reg.

at 33,819 & n.90 as a “well-established medical organizatio[n]”). They “may use the pronouns

they/them/theirs, or neopronouns which include e/em/eir, ze/zir/hir, er/ers/erself among

others.” Id.

       And how are districts supposed to verify a student’s gender identity? The rule doesn’t

say. It says the Department is “aware” that “many recipients rely on a student’s consistent

assertion,” but the Department never approves that approach. 89 Fed. Reg. at 33,819. It only

warns that “requiring a student to submit to invasive medical inquiries or burdensome docu-

mentation” is not allowed. Id. But that one example of “what not to do” is a far cry from

reasonable guidance about how to navigate this real and obvious issue. The Department hasn’t

given recipients fair notice of their obligations, even though it must. See Wages & White Lion

Invs. v. FDA, 90 F.4th 357, 374 (5th Cir. 2024) (en banc).



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        The Department also fails to reasonably explain how its rule coherently applies to

“nonbinary” (or “bisexual” or “questioning”) individuals. Even assuming Bostock applies to

Title IX, nonbinary persons do not remotely satisfy Bostock’s but-for test for sex discrimina-

tion. The “but-for test directs us to change one thing at a time and see if the outcome changes,”

and “[s]o long as the plaintiff’s sex was one but-for cause of that decision, that is enough.”

Bostock, 590 U.S. at 656. But a school with a policy of not allowing nonbinary students to use

the bathroom of the opposite sex would not discriminate based on “sex” because “changing

the [person’s] sex would [not] have yielded a different choice by the” school. Id. at 659-60.

Otherwise, a policy of allowing students to use the bathroom in line with their “gender iden-

tity” would also violate Title IX if it did not provide a third bathroom for gender-neutral

students. Contra 89 Fed. Reg. at 33,818. And some claimed nonbinary gender identities do not

hinge to sex at all. The Department failed to adequately address the expansiveness, and arbi-

trariness, of its rule.

        Reliance: The Department inadequately considers reliance interests. For decades, re-

cipients relied on regulations that unambiguously permit separation based on biological sex.

Adams, 57 F.4th at 812-17. The States, for example, structured their athletics programs and

intimate spaces based on that basic understanding. E.g., Mackey Decl. ¶¶16-17; Purcell Decl.

¶¶14, 19; Woods Decl. ¶¶18-29; Sikes Decl. ¶¶14-15; Weaver Decl. ¶¶10, 19. The Department

failed to “assess whether there were reliance interests, determine whether they were significant,

and weigh any such interests against competing concerns.” DHS v. Regents, 140 S.Ct. 1891,

1915 (2020).




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       Similarly, the Department failed to adequately consider alternatives “within the ambit

of the existing policy.” Id. at 1913 (cleaned up); accord Texas v. Biden, 20 F.4th 928, 992 (5th Cir.

2021), rev’d on other grounds, 597 U.S. 785 (2022) (“‘considering less disruptive alternatives’”).

The Department was dead-set on repealing and replacing the Trump rule, instead of consid-

ering more moderate amendments that are tailored to its asserted concerns. For example, the

Department failed to adequately consider the alternative of single-occupancy bathrooms. The

Department does not explain how a policy that lets students who do not want to use the

bathroom that aligns with their biological sex to use a single-occupancy bathroom results in

more than de minimis harm or violates Title IX. When a commenter raised the option of

single-occupancy bathrooms, the Department brushed it off because it would need “to seek

public comment on this issue” first. 89 Fed. Reg. at 33,820. But commenters raised this alter-

native, so the Department had to address it. It is not a reasonable explanation to say that the

alternative might be costly. “‘[C]osts and burdens’ do not excuse the Government from con-

sidering the full panoply of alternatives to its chosen action in repealing” an effective policy.

Louisiana v. U.S. Dep’t of Energy, 90 F.4th 461, 476-77 (5th Cir. 2024).

       Nor was it reasonable for the Department to flatly assert that recipients can “tak[e]

nondiscriminatory steps to ensure privacy and safety for all students in a recipient’s sex-sepa-

rate facilities.” 89 Fed. Reg. at 33,820; see Wages & White Lion Invs. v. FDA, 16 F.4th 1130, 1138

(5th Cir. 2021) (“‘We do not defer to the agency’s conclusory or unsupported suppositions.’”).

The Department does not explain how this is possible, and it failed to consider that increasing

privacy and safety in sex-separate facilities that are used by both sexes would be extremely

costly. An estimate in Loudoun County shows that bathroom renovations alone will cost that



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school district $11 million dollars for two of its eighteen high schools. See Minock, Loudoun

Schools Explore Replacing Boys and Girls Bathrooms with All-Gender, Single Stalls, ABC7 News (Apr.

12, 2023), perma.cc/CN4W-WU52. This figure excludes the other sixteen high schools, sixty-

five elementary schools, and twenty-one middle schools in that district alone.

       The Department didn’t adequately consider effects on the educational environment

either. Though the Department cursorily dismissed concerns about the “mere presence” in

“single-sex space[s],” 89 Fed. Reg. at 33,820, it didn’t address intimate settings where women

and children will be partially or fully undressed. The Department didn’t reasonably consider

that “people have a special sense of privacy in their genitals, and involuntary exposure of them

in the presence of people of the other sex may be especially demeaning and humiliating.”

Adams, 57 F.4th at 805 (cleaned up). That privacy interest is heightened for “school-age chil-

dren” who “‘are still developing, both emotionally and physically.’” Id. at 804. The Department

again disregarded “important aspect[s] of the problem.” Bidi Vapor LLC v. FDA, 47 F.4th

1191, 1202 (11th Cir. 2022).

       De Minimis Harm: The rule’s new “more than de minimis harm” requirement is ar-

bitrary and capricious because the Department failed to consider relevant and binding prece-

dent. The Department relies heavily on Bostock, a Title VII case, but fails to square its inter-

pretation of Title IX with the Supreme Court’s most recent case on Title VII and Bostock. Title

VII, the Court explained in Muldrow, does not ask how much harm a discriminatory action

imposes. Muldrow v. City of St. Louis, 144 S.Ct. 967, 976 (2024). The Court rejected any require-

ment that the “injury” be “‘significant,’ ‘material,’ or ‘serious.’” Id. at 975 n.2. The Department




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failed to consider this relevant issue, let alone explain why this recent interpretation of Title

VII does not unravel its heavy reliance on the concept of “de minimis harm.”

       Parental Rights: Finally, the Department injected gender identity into Title IX without

adequately considering parental rights. The rule says it trumps parents’ rights, including their

right to access their child’s information under FERPA and state laws. See, e.g., 89 Fed. Reg. at

33,885 (Proposed 34 C.F.R. §106.6(e)). Commenters pressed concerns that the rule would bar

a recipient from “treat[ing] a student according to their” biological sex “if requested by the

parents to do so,” “notify[ing] a student’s parents of the student’s gender transition or gender

identity,” or letting parents access “their child’s educational records, including information

about their child’s gender identity.” Id. at 33,821-22. Rather than deny these concerns, the

Department concedes that the rule can require such results, even when state law guarantees

these parental rights, and then “declines to opine” on any specifics. Id. at 33,822. But “bare

acknowledgment is no substitute for reasoned consideration.” Louisiana, 90 F.4th at 473. An

agency can’t adopt a radical change and then not directly address the significant consequences

of its amendment by stating that it is saving the tough judgments for later. Especially when

the change affects a constitutional right like parents’ right to make decisions about the care,

custody, and control of their children. Troxel v. Granville, 530 U.S. 57, 66 (2000).

       Each of these errors dooms the rule. And none of the Department’s errors are harm-

less. “[A]n agency decision is harmless only ‘when a mistake of the administrative body is one

that clearly had no bearing on the procedure used or the substance of the decision reached.’”

Bidi, 47 F.4th at 1205. These legal violations are the substance of the decision.




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       B.      The rule illegally redefines “sex-based harassment.”
       Title IX bans discrimination based on sex, and recipients can violate that prohibition

if, in certain limited circumstances, they fail to address sexual harassment by students against

other students. Recipients have long known what those circumstances are because the Su-

preme Court defined them in Davis v. Monroe County Board of Education, 526 U.S. 629 (1999).

The challenged rule, however, rejects Davis’s interpretation of Title IX and imports the Title

VII standard for sexual harassment instead. This redefinition is contrary to law and arbitrary

and capricious.

               1.     The redefinition of sexual harassment is contrary to law.
       The Supreme Court has already defined Title IX’s obligations for sexual harassment.

In Davis, the Court held that recipients can violate Title IX only if they have “actual

knowledge” of sexual harassment and are “deliberately indifferent” to it. 526 U.S. at 650. And

the harassment in question must be “so severe, pervasive, and objectively offensive that it denies

its victims the equal access to education.” Id. at 652 (emphases added). This standard inten-

tionally excludes “a single instance of one-on-one peer harassment,” even if “sufficiently se-

vere,” and harassment that has only negative effects like “a mere ‘decline in grades.’” Id. at

652-53.

       When crafting the Davis standard, the Supreme Court made clear that it chose this

stringent definition in part to avoid constitutional concerns. E.g., id. at 648-49, 652-53. In the

dissent, Justice Kennedy had argued that, if schools are liable for student-on-student harass-

ment, then they will adopt “campus speech codes” that “may infringe students’ First Amend-

ment rights.” Id. at 682; see id. at 667 (noting that schools’ “power to discipline its students”




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for harassment is “circumscribed by the First Amendment”). In response, the majority ex-

plained that its narrow definition accounts for “the practical realities of responding to student

behavior.” Id. at 652-53 (citing the dissent). Those “practical realities,” the Court agreed, in-

clude the need to comply with the First Amendment. See id. at 649 (agreeing with the dissent

that schools face “legal constraints on their disciplinary authority” and explaining that its in-

terpretation of Title IX would not require universities to risk “liability” via “constitutional …

claims”).

       Notably, Davis refused to adopt the definition of harassment that governs the work-

place under Title VII. While actionable harassment under Title VII can be “severe or perva-

sive,” students are not employees and Title IX’s “severe and pervasive” standard reflects the

greater First Amendment concerns that arise in the educational context. See id. at 651 (empha-

ses added; distinguishing Meritor Sav. Bank, FSB v. Vinson, 477 U.S. 57, 67 (1986)). In short,

“the school is not the workplace.” Adams, 57 F.4th at 808 (discussing Davis).

       Hence why the Trump administration “adopt[ed]” the Davis standard “verbatim.” 85

Fed. Reg. at 30,036; accord id. at 30,151-52, 30,164-65 & nn.738-39; 34 C.F.R. §106.30(a).

Broader definitions of harassment, the Department found, have “infringed on constitutionally

protected speech” and have led “‘many potential speakers to conclude that it is better to stay

silent.’” 85 Fed. Reg. at 30,164-65 & nn.738-39. According to the Department then, the Davis

standard “ensures that speech … is not peremptorily chilled or restricted” because it applies

only when harassment rises to the level of “serious conduct unprotected by the First Amend-

ment.” Id. at 30,151-52 (emphasis added); accord id. at 30,162-63.




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       The Department now thinks the Supreme Court’s definition isn’t good enough; its new

definition deviates from Davis in several key ways. The rule expands Title IX to cover conduct

that’s “severe or pervasive” rather than “severe and pervasive,” so the rule necessarily reaches

single and isolated incidents. 89 Fed. Reg. at 33,884 (Proposed §106.2); contra Davis, 526 U.S.

at 652-53. A recipient also can violate Title IX if the harassment “limits” a person’s ability to

participate in, or benefit from, a program or activity, 89 Fed. Reg. at 33,884 (Proposed §106.2),

instead of Davis’s requirement that the harassment “denies the victims of access to the educa-

tional opportunities or benefits provided by the school,” 526 U.S. at 652-53. So the new rule

covers, contra Davis, all negative effects like “a mere ‘decline in grades,’” a choice to skip class,

or a decision not to attend a campus activity. Id. at 653; see 89 Fed. Reg. at 33,511 (“[A] com-

plainant must demonstrate some impact on their ability to participate or benefit from the educa-

tion program or activity, but the definition does not specify any particular limits or denials.”

(emphasis added)). The rule also requires a recipient to “promptly and effectively end any sex

discrimination,” regardless whether it has been deliberately indifferent. See id. at 33,889 (Pro-

posed §106.44(f)(1)); contra Davis, 526 U.S. at 650-52.

       These deviations from Davis are not minor or technical. The Eleventh Circuit has al-

ready held that a harassment definition materially similar to the rule’s harassment definition,

when adopted by a public university, likely violates the First Amendment. In Cartwright, a uni-

versity defined “‘Hostile Environment Harassment’” as “[d]iscriminatory harassment that is

so severe or pervasive that it unreasonably interferes with, limits, deprives, or alters the terms

or conditions of education … or participation in a university program or activity … when

viewed from both a subjective and objective perspective.” 32 F.4th at 1114-15 (emphases



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added). The Eleventh Circuit held that this policy was “almost certainly unconstitutionally

overbroad” and “an impermissible content- and viewpoint-based speech restriction.” Id. at

1125. Other courts agree. E.g., Speech First, Inc. v. Fenves, 979 F.3d 319, 337 n.16 (5th Cir. 2020)

(similar non-Davis-compliant harassment policy objectively chilled protected speech); Speech

First, Inc. v. Khator, 603 F. Supp. 3d 480, 482 & n.6 (S.D. Tex. 2022) (“Speech First will likely

succeed on the merits because the original [harassment] policy does not comport with the

standard adopted by the Supreme Court” in Davis.). The Department’s rule thus walks public

universities into a First Amendment trap—the very trap that the Davis standard is designed to

avoid.

         In short, Davis authoritatively defined when sexual harassment by students makes a

school liable for sex discrimination under Title IX. The Department had no power to adopt a

different definition or eliminate Davis’s key limitations. Even if Chevron deference were a valid

doctrine, but see States’ Amicus Br., Loper Bright Enters. v. Raimondo, No. 22-451 (SCOTUS July

24, 2023), the Department could not use it to override Title IX’s unambiguous meaning, as

interpreted by the Supreme Court. Especially because that interpretation was adopted to avoid

“grave constitutional concerns.” Mexican Gulf Fishing Co. v. Dep’t of Com., 60 F.4th 956, 966 (5th

Cir. 2023); see Solid Waste Agency of N. Cook Cnty. v. U.S. Army Corps of Eng’rs, 531 U.S. 159, 172-

73 (2001); Edward J. DeBartolo Corp. v. Fla. Gulf Coast Bldg. & Const. Trades Council, 485 U.S. 568,

574-75 (1988).




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              2.      The redefinition of sexual harassment is arbitrary and capricious.
       The Department also fails to reasonably address relevant issues and important aspects

of the problem. The Department tries to minimize Davis and binding Eleventh Circuit prece-

dent, but its explanations are themselves arbitrary and capricious. The Department also fails

to explain inconsistencies in its new definition of harassment and ignores commenters’ many

concerns about speech.

       Davis: The Department tries to discount Davis in many ways, but each attempt is arbi-

trary and capricious. The Department first contends that it “is not required to adopt the

Gebser/Davis standard” at all because those cases were private lawsuits, not “administrative

enforcement.” 89 Fed. Reg. at 33,560. This reasoning makes no sense. The Supreme Court

was interpreting Title IX. Whether a private plaintiff is bringing a lawsuit or the Department

is bringing an enforcement action, the language of Title IX is the same. See Clark v. Martinez,

543 U.S. 371, 380-81 (2005) (courts cannot construe the same statute one way in one factual

context and another way in another factual context). As are the concerns that the Court artic-

ulated in Davis, including the First Amendment concerns that arise by overly broad definitions

of harassment. Title IX is not “a chameleon” whose “meaning [is] subject to change depending

on the presence or absence of constitutional concerns in each individual case.” Id. at 382. Davis

based its standard on what Title IX “makes clear,” yet the Department deviates from Davis’s

clear instruction without a reasoned justification. Davis, 526 U.S. at 650. Here, Davis’s “lowest

common denominator,” which takes account for the constitutional concerns, must control.

Clark, 543 U.S. at 380.




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       It is no answer to say, as the Department does, that deviating from Davis is okay be-

cause having a different standard for “monetary damages in private litigation” than “adminis-

trative enforcement” is a “long-held view.” 89 Fed. Reg. at 33,499. An “agency’s statement of

what it normally does or has done before is not, by itself, an explanation of why its [practice]

comports with the statute. Whether it does so in a particular agency decision or in a cited

earlier decision, the agency must ground such a normal or past practice in the statutory stand-

ard.” CS Wind Viet. Co. v. United States, 832 F.3d 1367, 1377 (Fed. Cir. 2016) (cleaned up). And

the Department can’t do so here: Davis authoritatively interpreted Title IX, and the Depart-

ment has no authority to adopt a different standard.

       At the very least, the Department failed to reasonably explain how one statute can have

two meanings. And it failed to explain how a school could adopt one harassment policy to

avoid private liability but a different harassment policy to avoid administrative enforcement.

If the standards are different, then schools must adopt the more draconian one to avoid pen-

alties—rendering Davis a dead letter.

       As a last resort, the Department tries to argue that the rule’s definition is “sufficiently

closely aligned with Davis,” 89 Fed. Reg. at 33,501, but its explanation is fatally lacking. The

Department points to one out-of-circuit precedent: Rowles v. Curators of University of Missouri,

983 F.3d 345 (8th Cir. 2020). In the Department’s view, Rowles held that a university’s Davis-

non-compliant policy did not raise a First Amendment overbreadth problem. 89 Fed. Reg. at

33,494-95 (citing 983 F.3d at 352, 358-59). But Rowles is crucially different because it involved

a graduate student, which raises unique First Amendment issues not present here. 983 F.3d at

351. Graduate students are arguably more like employees of the university, rather than mere



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students, so a lower standard might be justified for regulating their speech. See, e.g., Keefe v.

Adams, 840 F.3d 523, 529-33 (8th Cir. 2016); Hunt v. Univ. of New Mexico, 792 F. App’x 595,

601-06 (10th Cir. 2019). The Department never addresses this crucial distinction, which is

fatal. And while the Eighth Circuit said that a severe-or-pervasive definition of harassment

“tracks” Davis’s severe-and-pervasive standard, Rowles, 983 F.3d at 358, not even the Depart-

ment thinks that’s right. It agrees that its new definition is “broader,” a lower “bar,” and “not

identical to Davis.” See, e.g., 89 Fed. Reg. at 33,498 (“The Department’s final definition is not

identical to Davis … because the Department … believes a broader standard is appropriate.”);

id. at 33,500-01 (calling Davis “a higher bar”). In fact, the Department’s rule reads out the

“severe or pervasive” language entirely, insisting that it merely requires that the harassment

“limits or denies a person’s ability to participate in or benefit from the recipient’s education

program or activity.” Id. at 33,508.

       The Department also tries to say that its “limits or denies” requirement is the same as

Davis’s “denies” requirement. Compare id. at 33,884 (Proposed §106.2) (“limits or denies a per-

son’s ability to participate in or benefit from the recipient’s education program or activity”),

with Davis, 526 U.S. at 652 (“denies its victims the equal access to education”). If that were

true, then why change the definition from the 2020 rule? As the Department eventually con-

cedes, the word “limits” requires only “some impact on [the student’s] ability to participate or

benefit from the education program or activity,” id. at 33,511 (emphasis added), while Davis’s

“deny” condition requires more, see 526 U.S. at 652-53 (standard doesn’t cover mere negative

effects like “‘decline in grades,’” a choice to skip class, or a decision not to attend an activity).

Simply put, unlike “deny,” the word “limit” is vague, “amorphous,” and a low bar. Cartwright,



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32 F.4th at 1121. That the Department deviates from Davis, while sometimes admitting and

sometimes refusing to admit its deviations, further dooms the rule.

       First Amendment: The Department also goes astray when it tries to explain away

binding circuit precedent about the First Amendment limits on harassment policies at public

schools. The Department contends that the Eleventh Circuit’s decision in Cartwright is distin-

guishable because it involved a policy that was “broader” and “less protective” of speech than

the harassment definition in the rule. 89 Fed. Reg. at 33,501, 33,505-06. According to the

Department, its new rule is “far different” from the policy in Cartwright because the rule’s

“definition is narrower, clearer, and tailored to harms that have long been covered by hostile

environment laws.” Id. at 33,505.

       The Department does not reasonably explain how—because it can’t. As in Cartwright,

the definition of harassment challenged here reaches pure speech. E.g., id. at 33,516 (covers

“verbal” acts); id. at 33,493 (same); id. at 33,505 (“speech” can “constitut[e] hostile environ-

ment sex-based harassment”); id. at 33,503 (similar); 85 Fed. Reg. at 30,164-65 & nn.738-39

(“[E]vidence that broadly and loosely worded anti-harassment policies have infringed on con-

stitutionally protected speech and academic freedom is widely available.”). As in Cartwright, the

rule uses a “gestaltish ‘totality of known circumstances’ approach.” 32 F.4th at 1121, 1125;

accord 89 Fed. Reg. at 33,884 (Proposed §106.2) (“based on the totality of the circumstances”).

And as in Cartwright, the rule “restricts political advocacy” and other speech at the heart of the

First Amendment. 32 F.4th at 1125.




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       To try to distinguish Cartwright, the Department draws a series of distinctions that are

either nonexistent or backward. True, the policy in Cartwright reached “condoning or encour-

aging, or even failing to intervene to stop” harassment. Id. at 1126 (cleaned up). But the De-

partment’s rule reaches speech that merely “contribut[es] to” harassment. 89 Fed. Reg. at

33,501 n.11. True, the policy in Cartwright used “the terms ‘unreasonably’ and ‘alter,’” which

the Eleventh Circuit found “amorphous.” 32 F.4th at 1121 (cleaned up). But the Department’s

rule uses the term “limits,” which is just as amorphous and would equally “vary from one

student to another.” Id.; see 89 Fed. Reg. at 33,501 n.11, 33,505. Especially since the Depart-

ment defines “limits” to require only “some impact” on a student’s education. Id. at 33,511.

       The Department does no better when it denies that its definition of harassment is

viewpoint discriminatory under Cartwright. Id. at 33,505. Relying on an erroneous district-court

opinion that is currently on appeal, the Department says that the “‘crux’” of the viewpoint-

discrimination inquiry “‘is whether the ban applies equally to individuals on either side of a

given debate.’” Id. at 33,505-06 (quoting PDE v. Olentangy Loc. Sch. Dist., 2023 WL 4848509, at

*16 (S.D. Ohio July 28), appeal filed, No. 23-1535 (6th Cir.)). According to the Department, its

rule prohibits speech “regardless of the view a person expresses or the perspective the person

takes when engaging in that conduct.” Id. But Cartwright holds that overbroad harassment pol-

icies are viewpoint discriminatory because they ban speech “‘on the ground that it expresses

ideas that offend.’” 32 F.4th at 1126. And here, the Department boasts that its definition re-

quires the harassing speech be “offensive.” 89 Fed. Reg. at 33,501.

       Least persuasive of all is the Department’s assurance that, unlike the definition of har-

assment in Cartwright, its definition would survive strict scrutiny. Id. at 33,503-05. Even for K-



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12 schools, this circuit flatly prohibits policies that discriminate based on viewpoint. See Cart-

wright, 32 F.4th at 1126, 1127 n.6; Holloman ex rel. Holloman v. Harland, 370 F.3d 1252, 1280

(11th Cir. 2004). And under strict scrutiny, schools will have a difficult time explaining why

the Department’s definition is narrowly tailored, since schools could follow Title IX and not

chill protected speech by simply adopting the Davis standard verbatim. 89 Fed. Reg. at 33,503.

If the compelling interest in preventing sex discrimination somehow requires banning pure

speech, not just harassing conduct that satisfies Davis, the Department has failed to reasonably

explain why that’s the case. It insisted on adopting a definition of sexual harassment that the

Eleventh Circuit has already rejected and compelled schools in this circuit to adopt it, without

adequately explaining how they could avoid difficult lawsuits under Cartwright.

       Misgendering: Finally, the Department’s action is arbitrary and capricious because it

fails to reasonably address comments about “misgendering.” One commenter raised the De-

partment’s “recent resolution letter finding that a school district violated Title IX when it failed

to effectively respond to misgendering of a student.” 89 Fed. Reg. at 33,516. Other commen-

tators “urged” the Department to state that “misgendering is a form of sex-based harassment

that can create a hostile environment.” Id. Many commentators also noticed that the proposed

rule seemed to approvingly cite the 2016 Dear Colleague Letter, where the Department stated

that misgendering is punishable harassment. E.g., id.

       Rather than address these comments or the 2016 letter, the Department did not mean-

ingfully engage with either, stating merely that misgendering and preferred pronouns are “nec-

essarily fact-specific” and that “a stray remark, such as a misuse of language, would not con-




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stitute harassment under this standard.” Id. That terse statement is hardly “‘reasoned deci-

sionmaking.’” Michigan v. EPA, 576 U.S. 743, 750 (2015). Commentators put the Department

on notice of the 2016 letter and its recent resolution, so the Department had to address those

“relevant authorit[ies]” and explain any “inconsistencies” or differences in its current position.

Data Mktg., 45 F.4th at 857. And names and pronouns are a central issue raised by the Depart-

ment’s decision to redefine sex discrimination to include “gender identity” while also expand-

ing the definition of hostile-environment harassment to cover speech. The APA doesn’t grant

the Department “free license to … duc[k] the hard questions” or “bury its head in the sand.”

Mexican Gulf Fishing, 60 F.4th at 973. Especially when those hard questions involve critical

constitutional questions that have been the subject of litigation against schools. See PDE v.

Linn Mar Cmty. Sch. Dist., 83 F.4th 658, 666-69 (8th Cir. 2023).

       C.      The rule illegally changes procedures.
       Rather than maintain the 2020 rule’s procedural protections for the accused, the De-

partment’s new rule undoes them—despite the life-altering stakes of these grievance proceed-

ings. The rule erases procedural protections, raising grave due-process concerns, and does so

without reasonably justifying the change or reasonably considering the relevant issues. These

changes further illustrate how the rule violates the APA.

       Live Hearing & Cross-examination Through Advisor: The rule eliminates the right

to a live hearing at postsecondary institutions and the right to directly cross-examine witnesses

(including the accuser) through a representative. 89 Fed. Reg. at 33,895 (Proposed §106.46(g)).

No right to a live hearing exists even in cases that require credibility determinations, and even

in cases that involve the worst kinds of accusations (like sexual battery). If schools give the



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accused some sort of hearing, the accused (through an advisor) still has no right to directly

cross-examine the accuser or the witnesses.

       Courts have found that such procedures raise grave due-process concerns. See, e.g., Gor-

man v. Univ. of R.I., 837 F.2d 7, 14 (1st Cir. 1988); Prasad v. Cornell Univ., 2016 WL 3212079

(N.D.N.Y. Feb. 24); Doe v. Univ. of Scis., 961 F.3d 203, 215 (3d Cir. 2020); Khan v. Yale Univ.,

347 Conn. 1, 41 (2023); Messeri v. DiStefano, 480 F. Supp. 3d 1157, 1164 (D. Colo. 2020). In

serious cases that turn on witness credibility, courts have held that due process requires live,

adversarial cross-examination. According to these courts, cross-examination is “essential to a

fair hearing,” Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 605 (D. Mass. 2016), “like no other

procedural device” in its effectiveness, Doe v. Univ. of Cincinnati, 872 F.3d 393, 401 (6th Cir.

2017), and “the ‘greatest legal engine ever invented for the discovery of truth,’” California v.

Green, 399 U.S. 149, 158 (1970). Courts stress its importance especially in sexual-misconduct

cases, given their “he-said-she-said” nature. See, e.g., Donohue v. Baker, 976 F. Supp. 136, 147

(N.D.N.Y. 1997). Per one circuit, “[c]ross-examination is essential in cases like [these] because

it … ‘takes aim at credibility like no other procedural device.’ Without the back-and-forth of

adversarial questioning, the accused cannot probe the witness’s story to test her memory, in-

telligence, or potential ulterior motives.” Doe v. Baum, 903 F.3d 575, 582 (6th Cir. 2018)

(cleaned up).

       The Department claims that its rule is okay because, when credibility is at issue, the

decisionmaker will still question witnesses. In other words, the Department allows indirect

rather than direct examination—replacing live adversarial cross-examination by the party’s ad-




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visor with live questioning by a neutral decisionmaker. 89 Fed. Reg. at 33,731-32. The Depart-

ment gives two options for its “live questioning”: during individual meetings between the wit-

ness and the decisionmaker, or during a live hearing where the accused can be present. Id. at

33,894.

       This approach does not avoid the grave due-process concerns, and neither of the De-

partment’s two options are adequately justified. As the Department acknowledges, “some

courts have held that questioning by an advisor at a live hearing is required.” Id. at 33,737.

Indeed. Without live adversarial cross-examination, an accused party loses the chance to have

his side of the story meaningfully heard because such cross-examination subjects an accusation

to scrutiny in a way that nothing else can. That’s especially true for the Department’s option

for an individual meeting. When the entire dispute turns on a witness’s credibility and de-

meanor, the accused cannot effectively defend himself if he cannot hear the witness’s testi-

mony live and respond to it in person. Given the high stakes in these cases, for all parties, the

benefits of live hearings with live adversarial cross-examination overwhelmingly outweigh

their costs.

       The Department also failed to provide a “detailed justification” for adopting “findings

that contradict” the ones underlying the 2020 rule. FCC v. Fox Television Stations, Inc., 556 U.S.

502, 515 (2009). The Department previously found that the alternatives it now champions

were problematic. See 85 Fed. Reg. at 30,330-31. “To require a recipient to step into the shoes

of an advocate by asking each party cross-examination questions designed to challenge that

party’s plausibility, credibility, reliability, motives, and consistency would place the recipient in

the untenable position of acting partially (rather than impartially) toward the parties, or else



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failing to fully probe the parties’ statements for flaws that reflect on the veracity of the party’s

statements.” Id. at 30,331 (cleaned up). Based on the Department’s experience and the availa-

ble evidence, it found that recipients that used the indirect cross-examination route “stifled

the value of cross-examination by, for example, refusing to ask relevant questions posed by a

party, changing the wording of a party’s question, or refusing to allow follow-up questions.”

Id. at 30,313; accord id. at 30,316, 30,330, 30,340. The live-hearing requirement with adversarial

cross-examination by the parties “appropriately and reasonably balances the truth-seeking

function of” the proceedings “with protections against personal confrontation between the

parties.” Id. at 30,330. The Department ignored its own prior findings and didn’t provide “a

more detailed justification” for its change. Fox, 556 U.S. at 515.

       The Department also eliminated this right because “live hearings with advisor-con-

ducted cross-examination” can be “burdensome” and these “resources … could have been

spent on other things, including additional training for decisionmakers.” 89 Fed. Reg. at

33,732. But “cheapness alone cannot save an arbitrary agency policy.” Judulang v. Holder, 565

U.S. 42, 64 (2011). Plus, the Department does not explain how a single live hearing is more

burdensome than multiple individual meetings with each witness where credibility might be

an issue and there are follow-up questions. 89 Fed. Reg. at 33,894. Nor does the Department

reasonably explain why the many benefits of a live hearing with adversarial cross-examination

are outweighed by increased administrative burdens.

       Single-Investigator Model: The challenged rule permits schools to use a single-in-

vestigator model. The Department will no longer require a separate Title IX coordinator and

investigator and decisionmaker. 89 Fed. Reg. at 33,891 (Proposed §106.45(b)(2)). Instead,



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these roles can all fall under the umbrella of a single school employee. The same individual

can hear the original allegations, decide whether to investigate, do the investigation, evaluate

the evidence, and make a final decision. The challenged rule threatens to inject bias into the

proceedings, raises still more due-process concerns, and risks proceedings that result in sex

discrimination.

       The 2020 rule separated these roles, and the challenged rule does not adequately con-

sider the Department’s own stated concerns with letting a single person investigate, prosecute,

and convict. As the Department previously found: “[I]ndividuals who perform both roles may

have confirmation bias and other prejudices that taint the proceedings, whereas separating

those functions helps prevent bias and prejudice from impacting the outcome.” 85 Fed. Reg.

at 30,367. The Department now says this reasoning from just a few years ago was wrong. 89

Fed. Reg. at 33,857. But when an agency’s “new policy rests upon factual findings that con-

tradict those which underlay its prior policy,” agencies must “provide a more detailed justifi-

cation.” Fox, 556 U.S. at 515. Here, the Department provides little. Certainly not enough given

the “obvious” dangers that courts have highlighted. Brandeis, 177 F. Supp. 3d at 606; accord, e.g.,

Univ. of Scis., 961 F.3d at 216; Doe v. Grinnell Coll., 473 F. Supp. 3d 909, 924 (S.D. Iowa 2019);

Doe v. Claremont McKenna Coll., 25 Cal. App. 5th 1055, 1072-73 (2018); Doe v. Miami Univ., 882

F.3d 579, 601-05 (6th Cir. 2018).

       The Department’s backup argument is that it has added protections to reduce (if not

eliminate) the risk of unfairness from the single-investigator model. The protections? Regula-




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tions saying the single investigator must treat the parties “equitably,” that the single investiga-

tor can’t be “biased” or have a “conflict of interest,” and that a party can appeal an adverse

decision after the proceedings are over. 89 Fed. Reg. at 33,662-63.

       These protections are not reasonably connected to the stated concerns. A simple reg-

ulation saying “be equitable” or “don’t be biased” does nothing concrete to protect parties or

ensure reliability. And an opportunity to appeal is no solace to the accused, where a finding of

guilt can bring permanent and life-altering stigma that irreparably harms a student’s educa-

tional, professional, and social prospects, even if later reversed. Baum, 903 F.3d at 582. The

2020 rule added these protections because it found that a “follow the law” directive didn’t

work and wouldn’t work; real protections were necessary. The Department neither reasonably

addressed the relevant issues nor “provide[d] a more detailed justification” explaining its re-

versal. Fox, 556 U.S. at 515.

       Notice & Access to Evidence: Notice, federal courts have explained, means inform-

ing the accused of the specific charges and providing him access to the evidence of guilt. Doe

v. Purdue Univ., 928 F.3d 652, 663 (7th Cir. 2019); Miami, 882 F.3d at 603; Brandeis, 177 F. Supp.

3d at 603-06. The challenged rule undermines these obligations without a reasonable explana-

tion in two key ways.

        First, the rule removes the right of students to inspect all the evidence against them.

The rule instead allows the parties to access a mere “description” of the “relevant and not

otherwise impermissible evidence” unless they go out of their way to request an “equal op-

portunity to access the evidence.” 89 Fed. Reg. at 33,892 (Proposed §106.45(f)). The accused

has no way of knowing what relevant evidence was missing (or incompletely summarized in)



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the report. And because the rule lets the decisionmaker and the investigator be the same per-

son, the decisionmaker could know and base his decision on information that the parties never

got a fair opportunity to contextualize or challenge. This limited access to the evidence raises

more due-process concerns. See, e.g., Purdue, 928 F.3d at 663; Averett v. Hardy, 2020 WL

1033543, *5-8 (W.D. Ky. Mar. 3). The Department did not reasonably explain why providing

the accused the evidence without a request, along with a description, is impractical or unwise.

Nor did the Department reasonably explain why the broader scope of evidence available under

the 2020 rule is problematic. Nor did the Department reasonably address the due-process

concerns raised by its new regime.

       Second, the challenged rule allows an investigation to begin without any formal written

complaint. The accused need only receive an “oral” statement that a person would “objec-

tively” understand as a “request” to “investigate.” 89 Fed. Reg. at 33,882 (Proposed §106.2).

But verbal complaints are often vague and imprecise, making it difficult (if not impossible) to

provide accurate and adequate notice. Perhaps worse, the rule now permits the Title IX coor-

dinator to initiate a grievance procedure even in “the absence of a complaint or the withdrawal

of any or all of the allegations in a complaint.” Id. at 33,889 (Proposed §106.44(f)(1)(v)). The

rule thus empowers Title IX coordinators to go beyond their mandatory reporting duties and

to police activities on campus that they think constitute sex discrimination. Given the overall

breadth of “sex discrimination” and “sex-based harassment” under the rule, this provision

gives Title IX coordinators and other employees the power to open investigations and start




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proceedings based solely on what they have heard. The Department failed to reasonably ad-

dress the extraordinary implications of these changes or reasonably explain why a formal writ-

ten complaint is unfair, impractical, or unwise.

       Burden of Proof: The rule limits schools’ discretion to require a higher burden of

proof before punishing the accused under Title IX. The Department lets recipients use a

higher burden of proof (clear and convincing, rather than a preponderance) only if they use

that higher burden “in all other comparable proceedings, including proceedings relating to

other discrimination complaints.” 89 Fed. Reg. at 33,893 (Proposed §106.45(h)(1)). Though

the Department claims to care about “flexibility,” this change is mandatory. Yet the Depart-

ment nowhere explains what constitutes a “comparable proceedin[g].” Id.; see id. at 33,704

(“declin[ing] to define that term”). This uncertainty makes the Department’s rule a de facto

ban on the clear-and-convincing-evidence standard without ever having to justify such a rule.

                                        *      *       *
       More broadly, the Department also had no real reason to roll back procedural protec-

tions for the accused. Though it says live hearings and cross-examination “may have chilled

reporting of sex-based harassment,” it admits that it has no “information definitively attrib-

uting the decrease to” those procedures, rather than an obvious alternative: “the COVID-19

pandemic.” Id. at 33,732. The Department also tries to say that the new procedures promote

“flexibility” and “relieve administrative burden[s].” Id. at 33,660-64. But of course procedural

requirements reduce flexibility and add burden; they exist to protect the accused from an

overly flexible and fast process that is less reliable and fair. As the Department explained for

the 2020 rule: “It is unclear what criteria would justify an exemption to the general requirement



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that the same person cannot investigate and adjudicate a case, particularly because all the con-

duct described as ‘sexual harassment’ … is serious conduct.” 85 Fed. Reg. at 30,371. If there

is an answer, it’s not found in the challenged rule.

       The Department’s appeals to cost saving and flexibility fall flat. 89 Fed. Reg. at 33,857,

33,662-63. It eliminates procedural protections across the board. It does not account for a

recipient’s size, the number of complaints a recipient typically gets, or the potential severity of

the punishment. And “flexibility” is not the Department’s watchword for any other part of

the rule, which largely forces recipients to adopt the Department’s dictates. E.g., id. at 33,893

(limiting schools’ discretion on burden of proof); id. at 33,527, 33,886 (requiring schools to

police more speech); id. at 33,884 (requiring schools to police more “peer retaliation”); id. at

33,804-07, 33,886 (banning longstanding rules for sex-separated bathrooms). If recipients “are

well-suited” to balance “any costs” and benefits, then the Department should’ve given recipi-

ents this flexibility elsewhere, or at a minimum, reasonably addressed the inconsistency. Id. at

33,662. In any event, flexibility “is great—but only when” it means “consistently following the

law.” Wages, 16 F.4th at 1140.

       Worse, at every turn, the Department at most considers the effect of watering down

each procedural protection separately, which is not reasoned decisionmaking. In other words,

the Department failed to reasonably consider the effect of its changes in combination. For ex-

ample, the risk of bias and unreliable outcomes from the single-investigator model is especially

pronounced when the rule also gives officials the power to prosecute even “[i]n the absence

of a complaint.” 89 Fed. Reg. at 33,889 (Proposed §106.44(f)(1)(v)). By disregarding the entire




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regime it created, the Department failed to adequately address an important aspect of the

problem, thus undermining the entire rule.

II.    The other factors also favor Plaintiffs.
       The remaining factors—irreparable harm, balance of equities, and public interest—also

favor Plaintiffs. “When the government is the opposing party, as it is here,” the last two “fac-

tors merge.” Georgia v. President, 46 F.4th 1283, 1292 (11th Cir. 2022).

       Irreparable Harm: The rule’s new regulations will inflict irreparable harm on Plaintiffs

and the students they represent. The rule conflicts with the States’ policies and statutes. E.g.,

Purcell Decl. ¶14; Mackey Decl. ¶12; Woods Decl. ¶9; Sikes Decl. ¶8; Weaver Decl. ¶10. The

“inability to enforce … duly enacted [laws] clearly inflicts irreparable harm on the State[s].”

Abbott v. Perez, 585 U.S. 579, 603 n.17 (2018). The rule also purports to “preempt” conflicting

state or local laws. 89 Fed. Reg. at 33,540-41; id. at 33,885 (Proposed §106.6(b)). The new

regulations thus “affec[t] the States’ sovereign authority to” enforce their laws. Morrisey, 59

F.4th at 1149. Because the rule is unlawful, the States “would be [irreparably] harmed” if they

“could not apply [their] own laws.” Hand v. Scott, 888 F.3d 1206, 1214 (11th Cir. 2018); accord

L.W., 73 F.4th at 421 (same).

       Absent preliminary relief, the States also will suffer heavy, unrecoverable compliance

costs. The Eleventh Circuit “has recognized that unrecoverable monetary loss is an irreparable

harm,” Georgia, 46 F.4th at 1302, and “complying with a regulation later held invalid almost

always produces [that] irreparable harm,” BST Holdings, LLC v. OSHA, 17 F.4th 604, 618 (5th

Cir. 2021). Here, the rule upends the status quo by requiring state schools to align their pro-

cedures with the new regulations. Compliance will be costly. E.g., Mackey Decl. ¶¶6-17; Purcell



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Decl. ¶¶9, 13-19; Sikes Decl. ¶¶5-15; Woods Decl. ¶¶6-20; Hardee Decl. ¶¶6-18; Weaver Decl.

¶¶9-19; 89 Fed. Reg. at 33,851, 33,861, 33,548, 33,483, 33,492, 33,850, 33,862, 33,868-69. And

it must start immediately, since the rule becomes effective August 1 and schools will try to

avoid the disruption that comes from changing policies midsemester. “[M]oney damages can-

not adequately compensate the States because the federal government generally enjoys im-

munity from suit.” Morrisey, 59 F.4th at 1149. So the States can never “recover the compliance

costs they will incur if the Final Rule is invalidated on the merits.” Texas v. EPA, 829 F.3d 405,

433-34 (5th Cir. 2016). And once those policies are in place, the Private Plaintiffs’ members

will suffer irreparable harm in the form of chilled speech and the loss of their First and Four-

teenth Amendment rights. See Cartwright, 32 F.4th at 1128.

       Balance of Harms and Public Interest: The balance of equities and public interest

likewise favor relief. The public has no “interest in enforcing” a rule that’s unlawful. Otto v.

City of Boca Raton, 981 F.3d 854, 870 (11th Cir. 2020); accord BST Holdings, 17 F.4th at 618; KH

Outdoor, LLC v. City of Trussville, 458 F.3d 1261, 1271-73 (11th Cir. 2006). To the contrary, its

interest lies “in having governmental agencies abide by the federal laws that govern their ex-

istence and operations.” Wages, 16 F.4th at 1143; accord League of Women Voters of U.S. v. Newby,

838 F.3d 1, 12 (D.C. Cir. 2016); Ala. Ass’n of Realtors v. HHS, 594 U.S. 758, 765-66 (2021).

Likewise, “the public interest is served when constitutional rights are protected” from govern-

ment overreach. Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1327 (11th Cir. 2019).

And “[e]nforcing the Spending Clause’s limitations helps preserve state sovereignty and the

‘two-government system established by the Framers.’” Morrisey, 59 F.4th at 1149. Nor would




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temporary relief cause any meaningful disruption, since it would simply leave the 2020 rule in

place—the same rule that everyone has been operating under for four years.

III.   This Court should stay the rule’s effective date or enter a preliminary injunc-
       tion.
       This Court should grant preliminary relief by simply staying the rule’s effective date.

Under the APA, this Court can “postpone the effective date of an agency action … pending

conclusion of the review proceedings.” 5 U.S.C. §705. The effective date here is August 1.

Though Plaintiffs expect that this case can be resolved on cross-motions for summary judg-

ment based solely on the administrative record, Plaintiffs doubt that process could begin and

end before August 1. The administrative record here is unusually large, and schools must start

coming into compliance with the rule well before August 1. A stay of the effective date is thus

warranted “to prevent irreparable injury while the court reviews” this new rule. Alabama v.

U.S. Army Corps. of Eng’rs, 382 F. Supp. 2d 1301, 1314-15 (N.D. Ala. 2005). Granting a §705

stay would preserve the “status quo ex ante” until this case is fully briefed, argued, and decided.

Texas v. Biden, 646 F. Supp. 3d 753, 771, 781 (N.D. Tex. 2022).

       Importantly, a stay under §705 would temporarily freeze the whole rule for all recipi-

ents. These stays “stop the agency action in total.” Id. at 781. They are a “temporary form of

vacatur” that “temporarily voids” the agency action. All. for Hippocratic Med. v. FDA, 78 F.4th

210, 254 (5th Cir. 2023), cert. granted, 144 S.Ct. 537 (2023). Vacatur—what Plaintiffs will likely

get at the end of this case—is “the ordinary APA remedy.” Black Warrior Riverkeeper, Inc. v. U.S.

Army Corps of Eng’rs, 781 F.3d 1271, 1290 (11th Cir. 2015). That remedy “applies to the rule

generally, not to just the plaintiffs in a suit.” Health Freedom Def. Fund v. Biden, 599 F. Supp. 3d

1144, 1176 (M.D. Fla. 2022), vac’d as moot, 71 F.4th 888, 890 (11th Cir. 2023); accord Kiakombua


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v. Wolf, 498 F. Supp. 3d 1, 52 (D.D.C. 2020) (K.B. Jackson, J.) (“‘once a rule is vacated, it is

vacated for everyone’”). Vacatur is considered a less onerous form of relief than an injunction,

Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 165-66 (2010), and it is authorized by the text

of the APA itself, see 5 U.S.C. §706(2). It is not implicated by the ongoing debate about the

propriety of “nationwide injunctions.” See Labrador v. Poe ex rel. Poe, 144 S.Ct. 921, 928-34

(2024) (Kavanaugh, J., concurring); Griffin v. HM Fla.-ORL, LLC, 144 S.Ct. 1, 2 n.1 (2023)

(Kavanaugh, J., concurring). Temporary stays under §705, which are even less onerous than

vacatur and are expressly authorized by the APA, do not implicate that debate either.

       Alternatively, this Court should preliminarily enjoin Defendants from enforcing the

rule in Alabama, Florida, Georgia, or South Carolina. Each of those States is a plaintiff here,

so an injunction limited to those States would not extend beyond “the plaintiffs” in this case.

Georgia, 46 F.4th at 1308. To be sure, that injunction would not provide Plaintiffs “complete

relief.” Id. The State Plaintiffs have citizens, and the Private Plaintiffs have members, who

attend college in other States and would remain injured by the policies that the rule makes

their universities adopt. But some relief is better than no relief; and students, States, and

schools in the Plaintiff States would be protected. What would be untenable is letting the

rule—the most crucial parts of which concededly violate existing circuit precedent—go into

effect on August 1.

                                       CONCLUSION
       This Court should grant Plaintiffs’ motion and stay the rule’s effective date.




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Dated: May 8, 2024                          Respectfully submitted,

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